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                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

  JUAN LOZADA-LEONI,                                §
                                                    §
         Plaintiff,                                 §
                                                    §
  v.                                                §
                                                    §   Civil Action No. 4:20-cv-00068-RWS-CMC
  MONEYGRAM INTERNATIONAL, INC.,                    §
  and MONEYGRAM PAYMENT SYSTEMS,                    §
  INC.,                                             §
                                                    §
         Defendants.                                §

                 DEFENDANTS’ REPLY IN SUPPORT OF OBJECTIONS TO
                 PLAINTIFF’S APPLICATION TO APPEAR PRO HAC VICE

         Defendants MoneyGram International, Inc. (“MGI”) and MoneyGram Payment Systems,

  Inc. (“MPSI”) file their Reply in Support of their Objections to Plaintiff’s Application to Appear

  Pro Hac Vice (“Objections”) and state:

         1.      Plaintiff Juan Lozada-Leoni (“Plaintiff”), who is also an attorney, filed his

  Application to Appear Pro Hac Vice (Dkt. No. 60) on March 11, 2020 (“Application”). At the

  time he was represented in the lawsuit by lead counsel Steve Kardell (“Kardell”) and by

  Theodore Garber (“Garber”), an associate in the Law Office of Juan Antonio Lozada, i.e.,

  Plaintiff’s law firm. That remains true today. From March 20, 2019, until the Court granted his

  Motion to Withdraw on March 2, 2020, attorney Robert Weber and the law firm of Smith Weber,

  L.L.P. also represented Plaintiff.

         2.      Defendants filed their Objections to the Application (Dkt. No. 61) on March 20,

  2020. In the Objections, Defendants directed the Court to long-standing authority for the

  proposition “that a party in a civil action may appear either pro se or through counsel . . . but that

  he has no absolute right to do both in the absence of express statutory or constitutional

  provision."”67 A.L.R.2d 1102, at § 1 (originally published 1959). There is “no constitutional

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  right to hybrid representations whereby the defendant and his attorney act as co-counsel.” U.S. v.

  Long, 597 F.3d 720, 724 (5th Cir. 2010). The fact that Plaintiff is an attorney does not create an

  exception. See, e.g., Schumm v. State, 866 N.E.2d 781, 797 (Ind. Ct. App. 2007), opinion

  corrected on reh’g on oth. gr., 868 N.E.2d 1202 (Ind. Ct. App. 2007); Frank M. McDermott, Ltd.

  v. Moretz, 898 F.2d 418, 422 (4th Cir. 1990); Haefner v. County of Lancaster, Pa., 165 F.R.D.

  58, 60 (E.D. Va. 1996).

            3.   Defendants also directed the Court’s attention to the fact that permitting Plaintiff

  to act as both co-counsel and Plaintiff would be to condone a direct violation of Rule 3.08 of the

  Texas Disciplinary Rules of Professional Conduct, which provides that a “lawyer shall not accept

  or continue employment as an advocate before a tribunal in a contemplated or pending

  adjudicatory proceeding if the lawyer knows or believes that the lawyer may be a witness

  necessary to establish an essential fact on behalf of the lawyer’s client, unless . . . the lawyer is a

  party to the action and is appearing pro se[.]” Judge Mazzant recently denied two attorney-

  litigants’ request to appear pro hac vice alongside retained counsel for exactly this reason.

  Diamond Consortium, Inc. v. Manookian, Civil Action No. 4:16-cv-00094-ALM, Dkt. No. 225

  (E.D. Tex. May 31, 2017) (citing, inter alia, McCullough v. Velez, 364 F.3d 1, 4-5 (1st Cir.

  2004)).

            4.   Plaintiff’s Application is his second request to be both Plaintiff and appear as

  counsel in this case. The first was unsuccessful. Kardell represented Plaintiff throughout the

  administrative stage. Plaintiff nevertheless sought permission to take certain out-of-state

  depositions in Kardell’s place. Judge Daly denied that request, finding that none of Plaintiff’s

  “proffered justifications rise to a level warranting Complainant to personally take depositions of

  witness and act as his own attorney during the discovery process. Allowing Complainant to



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  personally take depositions, while at the same time remain represented by counsel, would likely

  result in easily avoidable challenges and unnecessary interference with an orderly discovery

  process.” See Exhibit 1.1

           5.        Plaintiff retained attorney Ahmed Davut – then an associate in Plaintiff’s law firm

  – to take those depositions. When Plaintiff removed the case to this Court, Kardell was

  Plaintiff’s only counsel of record until he retained Weber and then Garber, all before Plaintiff

  filed his Application. Weber then withdrew, in what he represented at the time to be an

  unopposed withdrawal occasioned by a conflicting engagement on the date the case is set for

  trial, but which Plaintiff now claims was over his objections2. See Plaintiff’s Motion to Amend

  the Docket Control Order (Dkt. No. 69) at ¶ 4.

           6.        Subsequent to the filing of the Objections, Kardell filed a motion to withdraw,

  which Defendants did not oppose, except to the extent Plaintiff planned to use Kardell’s

  withdrawal as grounds for delaying the trial or extending any pretrial deadlines. The day after

  filing his motion to withdraw, Kardell moved to stay his motion to withdraw, ostensibly so that

  he could respond to certain inaccurate (and seemingly disparaging) statements made about him

  in Plaintiff’s Response in Opposition to Defendant’s Objections to Plaintiff’s Application to

  Appear Pro Hac Vice (“Response”) (Dkt. No. 72), filed the same day Kardell filed his motion to

  withdraw!

           7.        In the Response, Plaintiff paints himself as the victim of circumstances beyond

  his control – that he “was placed in this position by the unexpected departure of Mr. Bob Webber

  [sic], the only experienced trial attorney on his team.” [Dkt. No. 72 at p. 1.] He alleges that it

  “became clear” after Weber’s withdrawal that Kardell “did not have the trial experience and

  1 October 16, 2018, Ruling on Complainant’s Motion to Substitute Complainant as Counsel.
  2 Plaintiff did not file any objections to Weber’s unopposed motion to withdraw or otherwise state the basis for his
  objection to it.


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  expertise in handling this type of litigation without the assistance of Mr. Webber [sic].” [Id.]

  Plaintiff, a self-proclaimed “experienced trial attorney,” has had nearly three years to evaluate

  Kardell’s ability to represent him in this dispute, and Defendants note Kardell’s claimed deep

  experience      in    this     area     of     law,     as     chronicled      on     his     website

  (www.dallaswhistleblowerlawyer.com). Plaintiff claims Garber is “competent” but that he is

  “not an experienced trial attorney like Mr. Webber [sic] was.” [Id. at p. 2.] Regardless of whether

  Plaintiff’s dissatisfaction with his choice of counsel is genuine, it is not a basis on which to

  permit hybrid representation in violation of the relevant disciplinary rules. Were that the case, the

  exception would swallow the rule, and a plaintiff-attorney would need only voice displeasure

  with counsel to circumvent the disciplinary rule and obtain “hybrid” status. No case has so held.

         8.      Seemingly acknowledging this, Plaintiff notes that “admittedly,” he “could

  proceed pro-se,” but claims that this would be “unfair,” because Defendants are represented by a

  “team of attorneys from one of the largest law firms in the United States.” [Id. at p. 3.] Again,

  Plaintiff’s choice of counsel is his, and his alone. If Plaintiff desired to be represented by a large

  law firm, he should have hired one to combat the perceived “unfairness,” and he still could.

  Instead, he wants the Court to permit hybrid representation, which “would allow Mr. Lozada to

  efficiently present the facts of this case while allowing Mr. Garber to assist him with the

  preparation and prosecution of the case.” [Id.] This argument is misplaced. There is no doubt that

  Plaintiff has “significant knowledge of the relevant facts in this case.” [Id. at p. 4.] That is

  presumably true of all plaintiffs in his situation. Plaintiff is thus fully capable of providing

  assistance to Garber – and to any other attorney he chooses to hire – in preparing for and

  conducting the trial of this matter. Plaintiff does not need to appear as counsel to provide this

  assistance or control trial strategy. He will be with his trial counsel the whole time.



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         9.      Plaintiff relies solely on a line of 40-year-old cases from other circuits to support

  his argument that the Court has discretion to permit the type of hybrid representation he desires.

  Each of these cases involves a criminal defendant asking for permission to participate in his

  own defense (sometimes granted, sometimes denied). None of the criminal defendants were

  attorneys, at least as far as the opinions reveal. Plaintiff has not directed the Court to any

  authority standing for the proposition that an attorney, as the plaintiff in civil litigation, has the

  “right” to hybrid representation, or even to any cases in which a district court has exercised

  whatever discretion it may have to permit hybrid representation by an attorney-plaintiff and

  retained counsel.

         10.     Plaintiff has not attempted to rebut the authority cited in the Objections.

  Regarding Rule 3.08, he says only that “Rule 3.08 is saying that a lawyer can represent himself.”

  True enough. However, to avoid violating his ethical duties, an attorney who wishes to represent

  himself must first decide to go it alone. If Kardell is permitted to withdraw, and if Plaintiff elects

  to terminate Garber and not replace either of them with a another law firm, large or small,

  Defendants concede that then, and only then, must the Court permit Plaintiff to proceed pro se.

  Unless and until all of that occurs, though, the Court should sustain the Objections and deny

  Plaintiff’s Application or to engage in “hybrid representation” of himself in this matter, whether

  in conducting discovery or participating at trial.

                                       RELIEF REQUESTED

         For the foregoing reasons and as set forth more fully in the Objections, Defendants

  respectfully request that the Court sustain their objections, deny Plaintiff’s Application, and grant

  all other relief, general or special, at law or in equity, to which Defendants may be justly entitled.




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                                        Respectfully submitted,


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                                        ATTORNEYS FOR DEFENDANTS


                               CERTIFICATE OF SERVICE

        The foregoing instrument was filed using the Court’s CM/ECF system on April 14, 2020,
  which will transmit a copy to all counsel of record.


                                                /s/ John M. Barcus
                                              John M. Barcus




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